Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 1 of 27 Page ID #:643



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        BRINDERSON CONSTRUCTORS, INC.
    7   AND BRINDERSON, L.P.
    8                       UNITED STATES DISTRICT COURT
    9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11   FRANCISCO P. MAIAVA, an                 CASE NO. 2:14-CV-05514 BRO (AJWx)
        individual appearing individually and
   12   on behalf of all others similarly       DEFENDANTS BRINDERSON
        situated,                               CONSTRUCTORS, INC. AND
   13                                           BRINDERSON, L.P.’S NOTICE OF
                           Plaintiff,           MOTION AND MOTION TO
   14                                           DISMISS; MEMORANDUM OF
                    v.                          POINTS AND AUTHORITIES IN
   15                                           SUPPORT THEREOF
        BRINDERSON CONSTRUCTORS,
   16   INC., BRINDERSON HOLDINGS               DATE:     September 15, 2014
        COMPANY, BRINDERSON, L. P.              TIME:     1:30 p.m.
   17   and DOES 1 through 30, inclusive,       CTRM.:    14
   18                      Defendants.
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Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 2 of 27 Page ID #:644



    1           TO PLAINTIFF AND TO HIS COUNSEL OF RECORD:
    2           Defendants Brinderson Constructors, Inc. (“Brinderson”) and Brinderson,
    3   L.P. (collectively, “Defendants”) hereby move to dismiss the instant action.
    4           This motion is made pursuant to 9 U.S.C. § 1, et seq., and Fed.R.Civ.P.
    5   12(b) and 12(b)(6) on the grounds that Plaintiff Francisco P. Maiava (“Plaintiff”)
    6   failed to grieve and arbitrate the claims raised herein, as expressly required by the
    7   collective bargaining agreement (“CBA”) governing the terms and conditions of
    8   his employment with Brinderson. The Federal Arbitration Act (“FAA”), 9 U.S.C.
    9   § 1 et seq., strongly favors the enforceability such provisions, particularly when
   10   they have been negotiated as part of a CBA.
   11           Brinderson complied with L.R. 7-3 by conducting a conference with
   12   Plaintiff‟s counsel on July 28, 2014 to discuss the instant motion.
   13           This motion is based on this notice, the attached memorandum of points and
   14   authorities, the request for judicial notice, the declaration of Gary Wilson, all the
   15   records and documents on file in this matter, and any oral or documentary evidence
   16   presented at the hearing of this motion.
   17   DATED: August 8, 2014                    EPSTEIN BECKER & GREEN, P.C.
   18
                                         By:    /S/ Michael S. Kun
   19                                           Michael S. Kun
                                                Aaron Olsen
   20                                           Attorneys for Defendants BRINDERSON
                                                CONSTRUCTORS, INC. and
   21                                           BRINDERSON, L.P.
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        FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 3 of 27 Page ID #:645



    1                                        TABLE OF CONTENTS
    2                                                                                                                   Page(s)
    3   I.            INTRODUCTION ..................................................................................... 1
    4   II.       STATEMENT OF FACTS ........................................................................ 2
    5          A. Brinderson Is Engaged In Interstate Commerce. ....................................... 2
    6          B. Plaintiff‟s Employment Was Governed By A CBA. ................................. 2
    7          C. The CBA Contains Mandatory Grievance And Arbitration Provisions
                  That Include Plaintiff‟s Claims Herein. ..................................................... 3
    8
               D. Plaintiff Did Not Grieve Or Arbitrate His Claims Prior To Filing This
    9             Action. ........................................................................................................ 4
   10   III.          ARGUMENT ............................................................................................. 5
   11          A. The Action Should Be Dismissed Because Plaintiff Failed To
                  Grieve And Arbitrate His Claims. ............................................................. 5
   12
                      1.     The Law Favors Enforcement Of Collectively Bargained
   13                        Agreements To Arbitrate Individual Worker Disputes. ..................... 5
   14                 2.     Plaintiff Cannot Satisfy His Burden To Demonstrate That
                             The Mandatory Grievance And Arbitration Provisions Of
   15                        The CBA Do Not Extend To The Claims He Has Attempted
                             To Raise Herein. ................................................................................. 7
   16
                      3.     The CBA Establishes A “Clear and Unmistakable”
   17                        Agreement To Grieve And Arbitrate The Claims
                             In This Action..................................................................................... 9
   18
                      4.     Labor Code § 229 Supports Requiring Plaintiff To Grieve
   19                        And Arbitrate His Claims. ................................................................ 10
   20                 5.     Any Argument That The CBA Is Contrary To State Public
                             Policy Is Unavailing. ........................................................................ 12
   21
                      6.     The Grievance And Arbitration Provision Extends To
   22                        Brinderson, L.P................................................................................. 15
   23          B. The FAC Must Be Dismissed. ................................................................. 16
   24          C. The Court Should Also Dismiss Plaintiff‟s PAGA Claims. .................... 19
   25          D. Plaintiff‟s Anticipated Request To Conduct Discovery Must Be
                  Denied. ..................................................................................................... 20
   26
        IV.           CONCLUSION ........................................................................................ 20
   27
   28


                                                                     i
        FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 4 of 27 Page ID #:646



    1                                       TABLE OF AUTHORITIES
    2                                                                                                             Page(s)
    3   FEDERAL CASES
    4   14 Penn Plaza LLC v. Pyett
           556 U.S. 247 (2009) ............................................................................... 2, 5, 6, 14
    5
        Akar v. Prescott Hotel
    6     2008 U.S. Dist. LEXIS 43066 (N.D. Cal. 2008) ................................................ 18
    7   Allied-Bruce Terminix Companies, Inc. v. Dobson
           513 U.S. 265 (1995) ........................................................................................... 11
    8
        Carr v. Pacific Maritime Ass'n
    9      904 F.2d 1313 (9th Cir. 1990) ............................................................................ 17
   10   Caterpillar Inc. v. Williams
           482 U.S. 386 (1987) ........................................................................................... 13
   11
        Chappel v. Laboratory Corp. of America
   12     232 F.3d 719 (9th Cir. 2000) .............................................................................. 18
   13   Choice Hotels Int‟l., Inc. v. BSR Tropicana Resort, Inc.
          252 F.3d. 707 (4th Cir. 2001) ............................................................................. 18
   14
        Commodities Export  Co. v. Detroit Int‟l Bridge Co.
   15     695 F.3d 518 (6th Cir. 2012) ............................................................................... 19
   16   Cox v. Ocean View Hotel Corp.
          533 F.3d 1114 (9th Cir. 2008) .............................................................................. 7
   17
        DelCostello v. Int‟l Board of Teamsters
   18     462 U.S. 151 (1983) ........................................................................................... 16
   19   F. Fitzgerald Constr. Co. v. Pedersen
           324 U.S. 720 (1945) ........................................................................................... 11
   20
        Filimex, L.L.C., v. Novoa Investments, L.L.C.
   21       2006 U.S. Dist. LEXIS 56039 (D. Az. July 17, 2006) ....................................... 18
   22   Herrera, et al. v. CarMax Auto Superstores California, LLC
          Case No. 5:14-cv-00776-MWF-VBK (C.D. Cal. July 2, 2014) .................... 1, 17
   23
        Hines v. Anchor Motor Freight, Inc.
   24      424 U.S. 554 (1976) ........................................................................................... 16
   25   KKE Architects, Inc. v. Diamond Ridge Development, LLC
          2008 U.S. Dist. LEXIS 17127 (C.D. Cal. 2008) ................................................ 17
   26
        Lewis v. UBS Fin. Serv., Inc.
   27     818 F.Supp.2d 1161 (N.D. Cal. 2011) ............................................................... 17
   28

                                                                 ii
        FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 5 of 27 Page ID #:647



    1   Local 174, Teamsters, Etc. v. Lucas Flour Co.
          369 U.S. 95 (1962) ....................................................................................... 14, 15
    2
        Luchini v. CarMax, Inc.
    3     2012 U.S. Dist. LEXIS 157253 (E.D. Cal. 2012) .............................................. 19
    4   Luna v. Kemira Specialty, Inc.
          575 F.Supp.2d 1166 (C.D. Cal. 2008) .......................................................... 17, 19
    5
        Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.
    6     473 U.S. 614 (1985) ............................................................................................. 6
    7   Perry v. Thomas
           482 U.S. 483 (1987) ........................................................................................... 11
    8
        Quevedo v. Macy‟s Inc.
    9     798 F.Supp.2d 1122 (C.D. Cal. 2011) .......................................................... 17, 19
   10   Soremekun v. Thrifty Payless, Inc.
           509 F.3d 978 (9th Cir. 2007) .............................................................................. 16
   11
        Sparling v. Hoffman Constr. Co.
   12      864 F.2d 635 (9th Cir. 1988) ........................................................................ 17, 18
   13   Swanson Restoration & Design, Inc. v. Paul Davis Restoration, Inc.
          2007 U.S. Dist. LEXIS 96520 (C.D. Cal. 2007) ................................................ 18
   14
        Textile Workers v. Lincoln Mills
   15      353 U.S. 448 (1957) ................................................................................................ 13
   16   Thinket Ink Info. Resources, Inc. v. Sun Microsystems, Inc.
           368 F.3d 1053 (9th Cir. 2004) ............................................................................ 17
   17
        Thompson v. Nienaber
   18     239 F.Supp.2d 478 (D. N.J. 2002)...................................................................... 18
   19   United Food & Commercial Workers v. Foster Poultry
          74 F.3d 169 (9th Cir. 1995) .................................................................................. 5
   20
        United Paperworkers Int'l. Union, AFL–CIO v. Misco, Inc.
   21     484 U.S. 29 (1987) ............................................................................................. 16
   22   UPS Ground Freight, Inc. v. Farran
          2014 U.S. Dist. LEXIS 1473 (S.D. Ohio 2014) ................................................. 19
   23
        Vaca v. Sipes
   24     386 U.S. 171 (1967) ........................................................................................... 13
   25   Vandevere v. Lloydth
          644 F.3d 957 (9 Cir. 2011) ............................................................................... 19
   26
        Wright v. Universal Maritime Service Corp.
   27     525 U.S. 70 (1998) ........................................................................................... 6, 9
   28

                                                                   iii
        FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 6 of 27 Page ID #:648



    1   CALIFORNIA CASES
    2   24 Hour Fitness, Inc. v. Superior Court
           66 Cal.App.4th 1199 (1998) ............................................................................... 15
    3
        Boucher v. Alliance Title Co., Inc.
    4     127 Cal.App.4th 262 (2005) ............................................................................... 15
    5   Buckhorn v. St. Jude Heritage Medical Group
          121 Cal.App.4th 1401 (2004) ............................................................................... 7
    6
        California Correctional Peace Officers Assn. v. State of California
    7      142 Cal.App.4th 198 (2006) ................................................................................. 6
    8   Cione v. Foresters Equity Servs.
           58 Cal.App.4th 625 (1997) ................................................................................... 7
    9
        Cone v. Union Oil Co. of Cal.
   10     129 Cal.App.2d 558 (1954) ................................................................................ 16
   11   Dryer v. Los Angeles Rams
           40 Cal.3d 406 (1985) ........................................................................... 12, 13, 14, 15
   12
        Harris v. Superior Court
   13     188 Cal.App.3d 475 (1986) ................................................................................ 15
   14   Iskanian v. CLS  Transportation Los Angeles
           59 Cal.4th 348 (Cal. 2014) .................................................................................. 19
   15
        Kirby v. Immoos Fire Protection, Inc.
   16      53 Cal.4th 1244 (2012) ......................................................................................................12
   17   Lane v. Francis Capital Management
          224 Cal.App.4th 676 (2014) ............................................................................... 12
   18
        McManus v. CIBC World Markets Corp.
   19     109 Cal.App.4th 76 (2004) ................................................................................. 11
   20   Plumbing, Heating Etc. Council v. Howard
           53 Cal.App.3d 828 (1975) .............................................................................. 5, 11
   21
        Posner v. Grunwald-Marx, Inc.
   22      56 Cal.2d 169 (1961) ........................................................................................ 5, 7
   23   Ronay Family Limited Partnership v. Tweed
          216 Cal.App.4th 830 (2013) ............................................................................... 15
   24
        Service Employees Internat. Union, Local 1000 v. Department of Personnel
   25      Admin.
           142 Cal.App.4th 866 (2006) ................................................................................. 7
   26
        Vasquez v. Superior Court
   27     80 Cal.App.4th 430 (2000) ................................................................................... 6
   28   Warehouse, Processing Etc. Union v. Hugo Neu Proler Co.
          65 Cal.App.4th 732 (1988) ..................................................................................... 13
                                                                       iv
        FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 7 of 27 Page ID #:649



    1   FEDERAL STATUTES
    2   9 U.S.C. § 3.............................................................................................................. 17
    3   29 U.S.C.A. § 185(a) .......................................................................................12, 13, 14
    4   9 U.S.C. § 1 et seq. ...................................................................................... 11, 17, 19
    5
    6   FEDERAL RULES
    7   Fed.R.Civ.P. 12(b)(1) ........................................................................................ 17, 18
    8   Fed.R.Civ.P. 12(b)(6) ........................................................................................ 17, 18
    9
   10   STATE STATUTES
   11   Article 1 of pt. 1 and Chapter 1 of the Labor Code ................................................. 12
   12   California Bus. & Prof. Code § 17200 et seq. ..................................................... 4, 12
   13   California Labor Code § 200 ................................................................................... 12
   14   California Labor Code § 204 ..................................................................................... 9
   15   California Labor Code § 226(a)................................................................................. 8
   16   California Labor Code § 226.7 ................................................................................ 12
   17   California Labor Code § 229 ....................................................................... 10, 11, 12
   18
   19   OTHER AUTHORITIES
   20   29 CFR § 776.11 ...................................................................................................... 11
   21   California Industrial Wage Order No. 16-2001........................................... 1, 8, 9, 10
   22
   23
   24
   25
   26
   27
   28

                                                                     v
        FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 8 of 27 Page ID #:650



    1               MEMORANDUM OF POINTS AND AUTHORITIES
    2   I.       INTRODUCTION
    3            Just several weeks ago, the Court granted a motion to dismiss a putative
    4   class action lawsuit where the plaintiffs had failed to grieve and arbitrate their
    5   claims in an action where one of the lawyers representing plaintiffs also represents
    6   Plaintiff Francisco P. Maiava (“Plaintiff”) herein. Herrera, et al. v. CarMax Auto
    7   Superstores California, LLC, Case No. 5:14-cv-00776-MWF-VBK (C.D. Cal.
    8   July 2, 2014).1 (RJN, Ex. E.) The same result should attend here.
    9            In this putative class action lawsuit, Plaintiff alleges, inter alia, that he and
   10   other putative class members were not provided meal and rest periods and were not
   11   paid all wages earned, including overtime. He has brought other claims related to
   12   these alleged violations, including a claim that he and other employees were not
   13   paid all of the wages owed to them upon the termination of their employment. As
   14   in Herrera, all of Plaintiff‟s claims must be dismissed because he failed to grieve
   15   and arbitrate them, as he was required to do.
   16            As discussed more fully below, during the entirety of Plaintiff‟s employment
   17   with Brinderson Constructors, Inc. (“Brinderson”), the terms and conditions of
   18   Plaintiff‟s employment were governed by a collective bargaining agreement
   19   (“CBA”) negotiated by United Steel, Paper and Forestry, Rubber, Manufacturing,
   20   Energy, Allied Industrial and Service Workers International Union On Behalf of
   21   International Union of Petroleum and Industrial Workers – United Steel Workers,
   22   Local 1945 (“USW”). The CBA contains comprehensive and mandatory grievance
   23   and arbitration provisions.        The provisions expressly state: “any dispute or
   24   grievance regarding overtime, meal periods, rest periods or any other subject
   25   matter covered by any and all wage orders issued by the state of California
   26   including Industrial Wage Order 16-2001 . . . will be, processed under and in
   27   accordance with the dispute and grievance procedure set forth in the collective
   28
        1
            Neal J. Fialkow represented plaintiffs in Herrera and represents Plaintiff here.
                                                     1
        FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 9 of 27 Page ID #:651



    1   bargaining agreement between the parties.” (Wilson Dec., Ex. 1 at 4.)
    2           Consistent with the United States Supreme Court‟s ruling in 14 Penn Plaza
    3   LLC v. Pyett, 556 U.S. 247 (2009), there was a “clear and unmistakable”
    4   agreement to grieve and arbitrate Plaintiff‟s claims. Indeed, the CBA specifically
    5   provides that it includes claims regarding meal periods, rest periods and any other
    6   subject mattered covered by the wage orders. As all of the claims brought by
    7   Plaintiff in his First Amended Complaint (“FAC”) are subject to the mandatory
    8   dispute resolution process, and as it is undisputed that Plaintiff did not grieve and
    9   arbitrate his claims, the Court should dismiss this lawsuit.2
   10   II.     STATEMENT OF FACTS
   11           A.        Brinderson Is Engaged In Interstate Commerce.
   12           Brinderson is engaged in interstate commerce.           Brinderson provides
   13   engineering, procurement, construction, maintenance and turnaround services to a
   14   broad range of energy related industries, including upstream oil and gas
   15   production, gas processing, oil refining, terminals and pipelines and chemicals.
   16   (Wilson Dec., ¶ 2.)         Among other things, Brinderson provides both routine
   17   maintenance and significant turnaround services for major refineries that supply oil
   18   and gas in various states throughout the western United States. (Id.) For instance,
   19   Brinderson repairs and retrofits oil refineries during scheduled or emergency
   20   shutdowns. (Id.) Brinderson also provides construction services for gas pipelines
   21   and oil refineries including constructing new facilities and improvements to
   22   existing facilities. (Id.) It also provides engineering, construction and maintenance
   23   services for companies engaged in the exploration and extraction of oil.
   24   Brinderson has a broad client base that includes major oil companies. (Id.)
   25           B.        Plaintiff’s Employment Was Governed By A CBA.
   26           Plaintiff began his employment as a safety watch with Brinderson in January
   27
        2
   28    For the convenience of the Court, Defendants have included a copy of the FAC as
        Exhibit A to their Request for Judicial Notice filed simultaneously herewith.
                                                  2
        FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 10 of 27 Page ID #:652



     1   2013. (Wilson Dec., ¶ 3.)3 Plaintiff was never employed by Brinderson, L.P.,
     2   which is a sister company of Brinderson.         (Wilson Dec., ¶ 4.)        Plaintiff‟s
     3   employment with Brinderson was brief, ending on or about February 17, 2013.
     4   (RJN, Ex. A.)
     5           The USW represents employees of Brinderson employed in the State of
     6   California working in various job classifications, including safety watch, laborer,
     7   fire watch, certified welder, construction clerk, craft helper and more than 30 other
     8   job classifications. (Wilson Dec., ¶ 6, Ex. 1 at 1, Section 1 and Appendix A.) The
     9   terms and conditions of Plaintiff‟s employment were governed by the CBA entered
    10   into between Brinderson and the USW that was effective in June 2010. (Id.) As
    11   part of his new hire checklist dated December 19, 2012, Plaintiff acknowledged
    12   that he received his union card. (Wilson Dec., ¶ 9, Ex. 2.) Plaintiff also signed a
    13   payroll deduction authorization of union dues. (Wilson Dec., ¶ 9, Ex. 3.)
    14           C.        The CBA Contains Mandatory Grievance And Arbitration
                           Provisions That Include Plaintiff’s Claims Herein.
    15
    16           The CBA governing the terms and conditions of Plaintiff‟s employment
    17   contains comprehensive dispute resolution provisions. (Wilson Dec., ¶ 8, Ex. 1 at
    18   5-6.)      The dispute resolution provisions provide, among other things, that
    19   employees must first attempt to resolve disputes with their supervisors within ten
    20   days. (Id.) If that does not resolve the issue, the USW and Brinderson will meet to
    21   resolve the issue within ten days. (Id.) If the issue remains unresolved, written
    22   notice of the grievances must be filed with the “standing committee,” initially
    23   comprised of the two chairmen of the negotiating committee who negotiated the
    24   CBA. (Id.) The standing committee must attempt to reach a settlement within one
    25   month. (Id.) If there is a deadlock among the standing committee, the matter must
    26   be referred to arbitration. (Id.) The matter may then be submitted to the Federal
    27
         3
    28    Brinderson and Brinderson, L.P. are collectively referred to herein as
         “Defendants.”
                                                  3
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 11 of 27 Page ID #:653



     1   Mediation and Conciliation Service, the American Arbitration Association, or an
     2   impartial arbitrator who is mutually agreed upon. (Id.)
     3           There can be no question that the CBA governs claims regarding wages,
     4   meal periods and rest periods as Article IV of the CBA expressly states,
     5               The parties hereby acknowledge that it has always been
                     understood and agreed between the parties that any
     6               dispute or grievance regarding overtime, meal periods,
                     rest periods or any other subject matter covered by any
     7               and all wage orders issued by the state of California
                     including Industrial Wage Order 16-2001, which covers
     8               on-site occupations in the construction, mining, drilling
                     and logging industries, has been, and will be, processed
     9               under and in accordance with the dispute and grievance
                     procedure set forth in the collective bargaining agreement
    10               between the parties.
    11   (Id. ¶ 8, Ex. 1 at 4) (emphasis added).
    12           D.        Plaintiff Did Not Grieve Or Arbitrate His Claims Prior
                           To Filing This Action.
    13
    14           On December 30, 2013, Plaintiff filed the instant action. On January 31,
    15   2014, he filed his FAC. In this action, Plaintiff has brought claims for failure to
    16   provide meal and rest periods, failure to pay at least minimum wage for attending
    17   trainings and meetings, failure to provide accurate itemized wage statements,
    18   waiting time penalties and violation of Bus. & Prof. Code § 17200 et seq. He has
    19   brought these claims against Brinderson and its sister company, Brinderson L.P.
    20   Plaintiff does not allege that he grieved and arbitrated his claims. (RJN, Ex. A.)
    21           Indeed, Plaintiff never grieved and arbitrated any claims. (Wilson Dec.,
    22   ¶ 10.) Brinderson has no records of Plaintiff attempting to resolve any dispute with
    23   his supervisor, of USW raising Plaintiff‟s disputes with Brinderson, of a written
    24   notice of grievance being submitted to the standing committee, of a deadlock
    25   among the standing committee, or of the matter being submitted to arbitration.
    26   (Wilson Dec., ¶ 10.)
    27   ///
    28   ///

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         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 12 of 27 Page ID #:654



     1   III.    ARGUMENT
     2           A. The Action Should Be Dismissed Because Plaintiff Failed
                    To Grieve And Arbitrate His Claims.
     3
                           1.   The Law Favors Enforcement Of Collectively Bargained
     4                          Agreements To Arbitrate Individual Worker Disputes.
     5           By filing the instant action, Plaintiff has attempted to circumvent or disavow
     6   the comprehensive dispute resolution provisions of the CBA negotiated by the
     7   USW. He may not do so.
     8           In 14 Penn Plaza, the United States Supreme Court recognized the broad
     9   authority of a labor union to agree to arbitration on behalf of its bargaining unit
    10   members: “As in any contractual negotiation, a union may agree to the inclusion
    11   of an arbitration provision in a collective-bargaining agreement in return for other
    12   concessions from the employer.         Courts generally may not interfere in this
    13   bargained-for exchange.” 14 Penn Plaza, 556 U.S. at 257. The Court added,
    14   “[n]othing in the law suggests a distinction between ... arbitration agreements
    15   signed by an individual employee and those agreed to by a union representative.”
    16   Id. at 258.
    17           14 Penn Plaza's recognition of broad union authority to agree to the
    18   arbitration of individual employee claims reflects federal labor policy, which
    19   “strongly favors the resolution of labor disputes through arbitration.” United Food
    20   & Commercial Workers v. Foster Poultry, 74 F.3d 169, 173 (9th Cir. 1995). The
    21   California Supreme Court has likewise observed, “[o]ur own state policy favors
    22   arbitration provisions in collective bargaining agreements, and recognizes the
    23   important part that they play in helping to promote industrial stabilization.” Posner
    24   v. Grunwald-Marx, Inc., 56 Cal.2d 169, 180 (1961); accord, Plumbing, Heating
    25   Etc. Council v. Howard, 53 Cal.App.3d 828, 833-34 (1975) (“There is a strong
    26   policy on both the national and state levels favoring ... resolution of labor disputes
    27   via grievance-arbitration procedures.”)
    28           The fact that Plaintiff has raised statutory claims in his Complaint does not

                                                    5
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 13 of 27 Page ID #:655



     1   affect the strong preference for arbitration pursuant to CBAs. 14 Penn Plaza, 556
     2   U.S. at 257; see also California Correctional Peace Officers Assn. v. State of
     3   California, 142 Cal.App.4th 198, 210 (2006) (“[T]he body of case law governing
     4   arbitration has recognized repeatedly that arbitrators may be presented with issues
     5   of statutory interpretation and are entitled to resolve those issues - at least in the
     6   first instance.”) The only limiting condition is that the commitment to arbitrate
     7   statutory claims must be “clear and unmistakable.” 14 Penn Plaza, 556 U.S. at
     8   272, 274; Wright v. Universal Maritime Service Corp., 525 U.S. 70, 80 (1998);
     9   Vasquez v. Superior Court, 80 Cal.App.4th 430, 434–435 (2000). As discussed
    10   below, the obligation to grieve and arbitrate is “clear and unmistakable” here,
    11   where Brinderson and the USW not only agreed to grieve and arbitrate statutory
    12   claims, but included language reiterating that it has always been their intent to
    13   grieve and arbitrate such claims.
    14           As the courts have explained, the fact that a claim must be arbitrated does
    15   not result in a loss of any substantive rights. “By agreeing to arbitrate a statutory
    16   claim, a party does not forgo the substantive rights afforded by the statute; it only
    17   submits to their resolution in an arbitral; rather than a judicial, forum.” Mitsubishi
    18   Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 628 (1985); see also
    19   14 Penn Plaza, 556 U.S. at 265-66 (same). As the United States Supreme Court
    20   has further explained, “we are well past the time when judicial suspicion of the
    21   desirability of arbitration and of the competence of arbitral tribunals inhibited the
    22   development of arbitration as an alternative means of dispute resolution.”
    23   Mitsubishi Motors, 473 U.S. at 626-627; accord, 14 Penn Plaza, 556 U.S. at 266
    24   (emphasizing the legitimate role of arbitration for statutory claims under a
    25   collective bargaining agreement).
    26           The strong preference for enforcement of collectively bargained arbitration
    27   requires that Plaintiff‟s claims be dismissed because he has failed to grieve and
    28   arbitrate them.

                                                   6
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 14 of 27 Page ID #:656



     1                     2.   Plaintiff Cannot Satisfy His Burden To Demonstrate That
                                The Mandatory Grievance And Arbitration Provisions Of
     2                          The CBA Do Not Extend To The Claims He Has Attempted
                                To Raise Herein.
     3
     4           Where, as here, a plaintiff has filed suit despite collectively bargained
     5   arbitration provisions and thereafter seeks to escape compliance with those
     6   provisions, he has an exceedingly heavy burden to carry. It is one Plaintiff cannot
     7   shoulder.
     8           “[I]n assessing whether an arbitration agreement or clause is enforceable, the
     9   Court should apply ordinary state-law principles that govern the formation of
    10   contracts.” Cox v. Ocean View Hotel Corp., 533 F.3d 1114, 1121 (9th Cir. 2008).
    11   Under California law, the scope of arbitration agreements must be liberally
    12   construed, and any doubts are to be resolved in favor of arbitration:
    13              Doubts as to whether an arbitration clause applies to a
                    particular dispute are to be resolved in favor of sending
    14              the parties to arbitration. The court should order them to
                    arbitrate unless it is clear that the arbitration clause
    15              cannot be interpreted to cover the dispute.
    16   Cione v. Foresters Equity Servs., 58 Cal.App.4th 625, 642 (1997) (emphasis
    17   added); see also Posner v. Gunwald Marx, Inc., 56 Cal.2d 169, 183-84 (1961)
    18   (explaining that contractual provisions to arbitrate are to be liberally construed).
    19           “A party to a collective bargaining agreement containing an express
    20   grievance and arbitration mechanism can bypass arbitration only if it can be said
    21   „with positive assurance‟ [that] the clause is not susceptible to an interpretation that
    22   covers the asserted dispute.” Service Employees Internat. Union, Local 1000 v.
    23   Department of Personnel Admin., 142 Cal.App.4th 866, 870 (2006). The burden is
    24   on the party opposing arbitration to demonstrate that an arbitration clause cannot
    25   be interpreted to require arbitration of the dispute. This burden is substantial.
    26   Buckhorn v. St. Jude Heritage Medical Group, 121 Cal.App.4th 1401, 1406
    27   (2004).
    28           Plaintiff cannot satisfy this burden here. The dispute resolution provisions

                                                    7
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 15 of 27 Page ID #:657



     1   of the CBA expressly extend to “any dispute or grievance regarding overtime, meal
     2   periods, rest periods or any other subject matter covered by any and all wage
     3   orders issued by the State of California.” (Wilson Dec., ¶ 7.) Not only do the
     4   provisions expressly include meal and rest periods, but the requirement to provide
     5   meal periods and rest periods is a subject matter covered by Industrial Welfare
     6   Commission (“IWC”) Wage Order No. 16-2001 in paragraphs 10 and 11, which is
     7   incorporated by reference in the grievance and arbitration provision of the CBA.
     8   (RJN, Ex. B.) Plainly, Plaintiff‟s claims in his FAC that he was not provided meal
     9   and rest periods fall squarely within the scope of the grievance and arbitration
    10   procedures as they are expressly identified in the CBA and as they are a “subject
    11   matter” of IWC Wage Order No. 16-2001.
    12           Likewise, paragraph 4 of IWC Wage Order No. 16-2001 addresses the
    13   requirement to pay at least the applicable minimum wage on the established
    14   payday for each pay period. Id. (“Every employer shall pay to each employee, on
    15   the established payday for the period involved, not less than the applicable
    16   minimum wage for all hours worked in the payroll period….”) Thus, Plaintiff‟s
    17   claim that he was not paid at least minimum wage for attending meetings is
    18   covered by the mandatory grievance and arbitration provision as it is a “subject
    19   matter” expressly covered by the applicable wage order, which is incorporated by
    20   reference in the CBA.
    21           In addition, paragraph 6(b) of Wage Order 16-2001 describes the
    22   requirement to provide proper wage statements in compliance with Labor Code
    23   § 226(a). Id. Thus, Plaintiff‟s claim for failure to provide proper wage statements
    24   is also a “subject matter” expressly covered by the applicable wage order, which is
    25   incorporated by reference in the CBA.
    26           As described below, Plaintiff‟s remaining claims are derivative of his claims
    27   that he was denied meal and rest periods and that he was not paid minimum wage
    28   for attending training and meetings.       Thus, they all had to be grieved and

                                                   8
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 16 of 27 Page ID #:658



     1   arbitrated. Plaintiff did not do so.
     2                     3.The CBA Establishes A “Clear and Unmistakable”
                             Agreement To Grieve And Arbitrate The Claims In This
     3                       Action.
     4           A collectively bargained agreement to arbitrate statutory claims must be
     5   enforced where it is “clear and unmistakable.” Wright, 525 U.S. at 80. That is the
     6   case here.
     7           As discussed above, the CBA expressly provides that it has “always” been
     8   the parties‟ intent that “any dispute or grievance regarding overtime, meal periods,
     9   rest periods or any other subject matter covered by any and all wage orders issued
    10   by the state of California including Industrial Wage Order 16-2001… will be[]
    11   processed under an in accordance with the dispute and grievance procedure set
    12   forth in the collective bargaining agreement between the parties.” (Wilson Dec.,
    13   ¶ 8.) Each of Plaintiff‟s claims fall within this clear and unmistakable provision.
    14           Plaintiff alleges in his first cause of action that he was not paid on a timely
    15   basis pursuant to Labor Code § 204 because he was not paid for all time worked
    16   including attending training and meetings. (RJN, Ex. A, ¶ 19.) The requirement to
    17   “pay each employee, on the established payday for the period involved, not less
    18   than the applicable minimum wage for all hours worked in the payroll period” is a
    19   subject matter expressly covered by paragraph 4(B) of IWC Wage Order No. 16-
    20   2001, which is incorporated by reference in the grievance and arbitration provision
    21   of the CBA. In addition, this claim is a derivative claim to Plaintiff‟s second cause
    22   of action. Accordingly, Plaintiff‟s first cause of action – and the corresponding
    23   portion of Plaintiff‟s sixth cause of action – had to be grieved and arbitrated.4 He
    24   did not do so.
    25
    26   4
          Plaintiff alleges in his third cause of action that he was not paid all wages due
    27   when he was discharged. Although Plaintiff does not identify any specific facts to
         support this claim, it appears that this claim is a derivative claim to his allegation
    28   that he was not paid for attending training and meetings or that he was not
         provided meal and rest periods. As such, this claim would be a derivative claim to
                                                    9
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 17 of 27 Page ID #:659



     1           Likewise, Plaintiff alleges in his second cause of action that he was not paid
     2   at least the minimum wage for attending training and meetings. (Id., ¶¶ 21-24.)
     3   Plaintiff also alleges that this is an unfair business practice in his sixth cause of
     4   action. (Id., ¶ 43(b).) The requirement to pay minimum wage is one of the
     5   subjects explicitly covered by paragraph 4 of IWC Wage Order No. 16-2001,
     6   which is incorporated by reference in the CBA. Accordingly, Plaintiff‟s second
     7   cause of action – and the corresponding portion of Plaintiff‟s sixth cause of action
     8   – had to be grieved and arbitrated. He did not do so.
     9           There also can be no question that Plaintiff‟s claims that he was not provided
    10   with meal and rest periods in accordance with the Labor Code and “the applicable
    11   wage order” are governed by the mandatory grievance and arbitration provision.
    12   (Id., ¶¶ 29-35, 43(d).) Not only are meal and rest periods subjects of IWC Wage
    13   Order No. 16-2001, but they are expressly identified in the CBA as being subject
    14   to the mandatory grievance and arbitration provision. Thus, Plaintiff‟s fourth
    15   cause of action – and the corresponding portion of Plaintiff‟s sixth cause of action
    16   – had to be grieved and arbitrated. He did not do so.
    17           Plaintiff alleges in his fifth cause of action that he was not provided with
    18   proper wage statements. (Id., ¶¶ 36-40.) Plaintiff also alleges that this is an unfair
    19   business practice in his sixth cause of action. (Id., ¶ 43(e).) The requirement to
    20   provide proper wage statements is the subject of paragraph 6(B) of IWC Wage
    21   Order No. 16-2001, which is incorporated by reference in the CBA. Accordingly,
    22   Plaintiff‟s fifth cause of action – and the corresponding portion of Plaintiff‟s sixth
    23   cause of action – had to grieved and arbitrated. Plaintiff did not do so.
    24                4.    Labor Code § 229 Supports Requiring Plaintiff To Grieve
                            And Arbitrate His Claims.
    25
    26           Based upon statements made by Plaintiff‟s counsel when this action was in
    27
    28   Plaintiff‟s second and fourth causes of action and would also be subject to the
         mandatory grievance and arbitration provision.
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         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 18 of 27 Page ID #:660



     1   state court, Defendants anticipate Plaintiff will contend that Labor Code § 229
     2   prevents enforcement of the CBA‟s grievance and arbitration provision here. Such
     3   an argument fails for numerous reasons.
     4           To start, although Labor Code § 229 permits employees to maintain claims
     5   for unpaid wages despite any contractual duty to arbitrate, it expressly excludes
     6   CBAs.        Id.   (“This section shall not apply to claims involving any dispute
     7   concerning the interpretation or application of any collective bargaining agreement
     8   containing such an arbitration agreement.”) In short, “the Legislature in enacting
     9   section 229 sought to encourage the resolution of labor disputes covered by
    10   collective bargaining agreements via arbitration-grievance procedures contained
    11   therein…” Howard, 53 Cal.App.3d at 834. Thus, Section 229 confirms that
    12   California law favors the arbitration of statutory wage claims under CBAs.
    13           Even were that not the case, Section 229 still would not apply because
    14   Brinderson is engaged in interstate commerce. (Wilson Dec., ¶ 2.)5 As such, the
    15   Federal Arbitration Act, 9 U.S.C. § 1 et seq., (“FAA”) governs this matter. Allied-
    16   Bruce Terminix Companies, Inc. v. Dobson, 513 U.S. 265, 277 (1995); McManus
    17   v. CIBC World Markets Corp., 109 Cal.App.4th 76, 85-86 (2004). And the FAA
    18   preempts Labor Code § 229. Perry v. Thomas, 482 U.S. 483, 490-91 (1987)
    19   (explaining that California Labor Code § 229, restricting arbitration of wage
    20   disputes, is preempted and invalidated by the FAA). Thus, even if Labor Code
    21   § 229 did not expressly carve out an exception for arbitration pursuant to the terms
    22   of collective bargaining agreements, Labor Code § 229 would still not apply here.
    23           Finally, even if Labor Code § 229 extended to CBAs and was not preempted
    24   by the FAA, Labor Code § 229 only applies to “actions to enforce the provisions of
    25   this article for the collection of due and unpaid wages.” Labor Code § 229. Only
    26   5
          It is well established that employees who perform maintenance, repair or
    27   improvement of existing instrumentalities of commerce including pipe lines are
         involved in interstate commerce. See e.g., 29 CFR § 776.11; F. Fitzgerald Constr.
    28   Co. v. Pedersen, 324 U.S. 720, 724 (1945) (explaining that the repair of
         instrumentalities of commerce involves interstate commerce).
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         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 19 of 27 Page ID #:661



     1   Plaintiff‟s third cause of action asserts a claim under Sections 200 through 244 of
     2   the Labor Code for unpaid wages.         Although Plaintiff‟s first cause of action
     3   (missed meal periods), second cause of action (missed rest periods) and fourth
     4   cause of action (waiting time penalties) refer to various sections within Article 1 of
     5   Part 1 and Chapter 1 of the Labor Code, they are not actions to collect “due and
     6   unpaid wages.” See Lane v. Francis Capital Management, 224 Cal.App.4th 676,
     7   684 (2014) (holding that claims for meal and rest period premiums and waiting
     8   time penalties are not actions for due and unpaid wages); citing Kirby v. Immoos
     9   Fire Protection, Inc., 53 Cal.4th 1244, 1256 (2012) (“[A] section 226.7 claim is not
    10   an action brought for        nonpayment of wages; it is an action brought for
    11   nonprovision of meal or rest breaks.”) Likewise, Plaintiff‟s fifth cause of action
    12   (unfair competition) does not assert claims under Sections 200 through 244 of the
    13   Labor Code. Lane 224 Cal.App.4th at 684 (holding that Labor Code § 229 does
    14   not apply to claims for unfair competition brought pursuant to Bus. & Prof. Code
    15   § 17200 et seq.)
    16           For all of these reasons, any argument that Labor Code § 229 permits
    17   Plaintiff to sue rather than grieve and arbitrate would be entirely unavailing.
    18                     5.   Any Argument That The CBA Is Contrary To State Public
                                Policy Is Unavailing.
    19
    20           Defendants anticipate that Plaintiff will argue that even if grievance and
    21   arbitration are required by the “clear and unmistakable” provisions in the CBA,
    22   those provisions are unenforceable because the attendant dispute resolution
    23   procedures are contrary to state public policy. However, no such state policy would
    24   apply in this case. Rather, because the arbitration at issue would arise from a CBA
    25   in interstate commerce, the validity of any of its procedures is governed by federal
    26   law under Section 301 of the Labor Management Relations Act (“LMRA”), 29
    27   U.S.C. § 185(a). Dryer v. Los Angeles Rams, 40 Cal.3d 406, 411 (1985) (“federal
    28   law governs the enforcement of arbitration provisions in contracts involving

                                                   12
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 20 of 27 Page ID #:662



     1   interstate commerce . . . and section 301(a) authorizes enforcement of a promise to
     2   arbitrate in a collective bargaining agreement.”) And, unlike under state law, “the
     3   judicial role in considering a motion to compel arbitration is … quite limited” under
     4   the LMRA. (Id. at p. 413.)
     5           While state courts may enjoy concurrent jurisdiction in disputes over
     6   collectively bargained arbitration provisions, they must apply federal law in light of
     7   the overriding national labor policy. Warehouse, Processing Etc. Union v. Hugo
     8   Neu Proler Co., 65 Cal.App.4th 732, 737 (1988) (explaining that state courts must
     9   “apply federal law” to questions under LMRA section 301). State courts “may look
    10   to state law for guidance, but only if it effectuates the policies underlying federal
    11   labor legislation.” Dryer, 40 Cal.3d at 411-412. “[I]ncompatible doctrines of local
    12   law must give way.” Id. at 411; accord, Textile Workers v. Lincoln Mills, 353 U.S.
    13   448, 456 (1957) (explaining federal law applies where section 301 governs, and
    14   courts “must fashion [this law] from the policy of our national labor laws”).6
    15           “To effectuate [national labor] policy,” federal law limits a “court‟s inquiry
    16   to a few basic questions concerning arbitrability of the dispute and defenses, if any,
    17   based on allegations of a [union‟s] lack of fair representation.” Dryer, 40 Cal.3d at
    18   413. In other words, absent a labor union‟s breach of its narrow duty of fair
    19   representation to its employees, arbitration must be ordered if the collective
    20   bargaining agreement so requires. Id. at 411-412 (explaining that where, as here,
    21   the union is not alleged to have breached its duty of fair representation, a court‟s
    22   “function is essentially ended „once it has found the collective bargaining
    23   agreement susceptible of an interpretation which would cover the dispute‟”); see
    24   also Vaca v. Sipes, 386 U.S. 171, 190 (1967) (explaining that a labor union
    25
         6
    26    Whether the defense of compulsory arbitration provides a basis for removal to
         federal court under the “well-pleaded complaint” rule is a separate matter not at
    27   issue here. Caterpillar Inc. v. Williams, 482 U.S. 386, 398-399 (1987)
         (distinguishing question of removal based on plaintiff‟s complaint from the
    28   presence of federal defenses, including those based on Section 301, in state-court
         proceedings).
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         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 21 of 27 Page ID #:663



     1   breaches its duty of fair representation only where its “conduct toward a member
     2   of the collective bargaining unit is arbitrary, discriminatory, or in bad faith.”)
     3           When analyzing arbitration provisions under a collective bargaining
     4   agreement, courts “do not consider the substance of the grieving party‟s claims,
     5   nor do they scrutinize the agreed-upon arbitration procedures for general fairness.”
     6   Dryer, 40 Cal.3d at 414. Whether arbitration procedures would be unconscionable
     7   under state law or comport with state public policy is therefore of no moment. Id.
     8   at 415-417 (refusing to apply California unconscionability doctrine to LMRA-
     9   governed arbitration); accord, Knight et al., Cal. Practice Guide; Alternative
    10   Dispute Resolution (The Rutter Group 2014) ¶ 5:159, pp. 5-118 (“[a]rbitration
    11   provisions in collective bargaining agreements are not subject to state law
    12   „unconscionability‟ limitations”). Where the LMRA applies, “courts generally
    13   order arbitration despite objections concerning the arbitration procedures.” Dryer,
    14   40 Cal.3d at 414. It makes no difference whether the process is “employee-
    15   oriented” or even if a “partisan” arbitrator is used. (Id.)
    16           The fact that a labor union operates by majority rule does not invalidate its
    17   determination to agree to arbitrate individual statutory claims. See 14 Penn Plaza,
    18   556 U.S. at 270 (“Labor unions certainly balance the economic interests of some
    19   employees against the needs of the larger work force as they negotiate collective-
    20   bargain[ing] agreements . . . . But this attribute of organized labor does not justify
    21   singling out an arbitration provision for disfavored treatment.”) To the contrary,
    22   “[t]he ordering and adjusting of competing interests through a process of free and
    23   voluntary collective bargaining is the keystone of the federal scheme to promote
    24   industrial peace.” Local 174, Teamsters, Etc. v. Lucas Flour Co., 369 U.S. 95, 104
    25   (1962). “State law which frustrates the effort of Congress to stimulate the smooth
    26   functioning of that process thus strikes at the very core of federal labor policy.” Id.
    27   This is precisely why Section 301 of the LMRA requires that “federal labor law
    28   must be paramount” in cases, like the one here, governed by that statute. Id. at

                                                    14
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 22 of 27 Page ID #:664



     1   103. Were it otherwise, contracts could have a different meaning under federal law
     2   and state law, which “would inevitably exert a disruptive influence upon both the
     3   negotiation and administration of collective agreements.” Id. at 103-104.
     4           Here, Plaintiff does not claim that his duly-elected labor union failed to
     5   fairly represent his interests.    Thus, Plaintiff has not identified any issues to
     6   overcome the dominant and governing federal rule that the refusal to enforce an
     7   arbitration agreement based upon an inquiry into its procedures “would frustrate
     8   rather than further the goals of national labor policy.” Dryer, 40 Cal.3d at 415.
     9                     6.   The Grievance And Arbitration Provision Extends To
                                Brinderson, L.P.
    10
    11           Although Plaintiff was only employed by Brinderson, he has also sued its
    12   sister company Brinderson, L.P. Defendants anticipate that Plaintiff will argue that
    13   by suing an additional entity, Plaintiff may escape the grievance and arbitration
    14   provision of the CBA. Plaintiff is, of course, mistaken. Were an employee able to
    15   escape the grievance and arbitration provisions of a CBA just by including another
    16   entity in his lawsuit, the arbitration provisions would be rendered meaningless.
    17           Although Brinderson, L.P. is not a signatory to the CBA, it is also entitled to
    18   the benefit of the arbitration agreement. “It is well established that a nonsignatory
    19   beneficiary of an arbitration clause is entitled to require arbitration.” Harris v.
    20   Superior Court, 188 Cal.App.3d 475, 478 (1986); see also 24 Hour Fitness, Inc. v.
    21   Superior Court, 66 Cal.App.4th 1199, 1210 (1998); Boucher v. Alliance Title Co.,
    22   Inc., 127 Cal.App.4th 262, 271 (2005) (“under both federal and California
    23   decisional authority, a nonsignatory defendant may invoke an arbitration clause to
    24   compel a signatory plaintiff to arbitrate its claims when the causes of action against
    25   the nonsignatory are „intimately founded in and intertwined‟ with the underlying
    26   contract obligations.”); Ronay Family Limited Partnership v. Tweed, 216
    27   Cal.App.4th 830, 838-39 (2013).
    28           Throughout the FAC, Plaintiff refers to Brinderson and Brinderson, L.P.

                                                   15
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 23 of 27 Page ID #:665



     1   collectively as “Defendants.” Plaintiff makes no distinction between them. And
     2   all of the alleged conduct arises out of Plaintiff‟s employment with Brinderson. As
     3   such, Brinderson, L.P. is a beneficiary of the dispute resolution process in the
     4   CBA. As with his claims against Brinderson, Plaintiff must grieve and arbitrate his
     5   claims against Brinderson, L.P.
     6           B.        The FAC Must Be Dismissed.
     7           Because Plaintiff‟s claims fall within the dispute resolution provisions of the
     8   CBA, he was required to grieve and arbitrate them. He may not circumvent the
     9   enforceable dispute resolution provisions of the CBA by pursuing claims in court.
    10   See DelCostello v. Int‟l Board of Teamsters, 462 U.S. 151, 163 (1983) (“[A]n
    11   employee is required to attempt to exhaust any grievance or arbitration remedies
    12   provided in the collective bargaining agreement. Subject to very limited judicial
    13   review, he will be bound by the result according to the finality provisions of the
    14   agreement.”); United Paperworkers Int'l. Union, AFL–CIO v. Misco, Inc., 484 U.S.
    15   29, 37 (1987) (“where the [CBA] provides grievance and arbitration procedures,
    16   those procedures must first be exhausted and courts must order resort to the private
    17   settlement mechanisms without dealing with the merits of the dispute”); Cone v.
    18   Union Oil Co. of Cal., 129 Cal.App.2d 558, 563 (1954) (“a party to a collective
    19   bargaining contract which provides grievance and arbitration machinery for the
    20   settlement of disputes within the scope of such contract must exhaust these internal
    21   remedies before resorting to the courts in the absence of facts which would excuse
    22   him from pursuing such remedies.”); Hines v. Anchor Motor Freight, Inc., 424
    23   U.S. 554, 563 (1976) (an employee may not “sidestep the grievance machinery”
    24   provided in a CBA; “unless he attempted to utilize the contractual procedures for
    25   settling his dispute with his employer, his independent suit against the employer in
    26   the District Court would be dismissed”); Soremekun v. Thrifty Payless, Inc., 509
    27   F.3d 978, 981, 986 (9th Cir. 2007) (finding that “employee‟s failure to exhaust
    28   contractually mandated procedures [that required the employee file a claim with

                                                   16
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 24 of 27 Page ID #:666



     1   the Union within ten days after discovery of the claim] precludes judicial relief”);
     2   Carr v. Pacific Maritime Ass'n, 904 F.2d 1313, 1317 (9th Cir. 1990) (“Failure to
     3   utilize the grievance procedures, or to invoke them in a timely manner, bars
     4   grievants from pursuing remedies in court.”); Sparling v. Hoffman Constr. Co.,
     5   864 F.2d 635, 638 (9th Cir. 1988); Quevedo v. Macy‟s Inc., 798 F.Supp.2d 1122,
     6   1143 (C.D. Cal. 2011).
     7           As Plaintiff did not grieve and arbitrate his claims as he was required to do,
     8   his claims should be dismissed – just as the Court did just weeks ago in Herrera,
     9   Case No. 5:14-cv-00776-MWF-VBM (RJN, Ex. E.) See also KKE Architects, Inc.
    10   v. Diamond Ridge Development, LLC, 2008 U.S. Dist. LEXIS 17127, *14 (C.D.
    11   Cal. 2008) (having found an enforceable arbitration agreement, court may dismiss
    12   the judicial action); Thinket Ink Info. Resources, Inc. v. Sun Microsystems, Inc.,
    13   368 F.3d 1053, 1060 (9th Cir. 2004) (dismissing plaintiffs‟ claims that were
    14   subject to an arbitration agreement); Lewis v. UBS Fin. Serv., Inc., 818 F.Supp.2d
    15   1161, 1165 (N.D. Cal. 2011) (courts have discretion under 9 U.S.C. § 3 to dismiss
    16   claims that are subject to an arbitration agreement); Quevedo, 798 F.Supp.2d at
    17   1143 (C.D. Cal. 2011) (FAA does not “limit the court's authority to grant a
    18   dismissal” where the court requires a plaintiff “to submit all claims to arbitration . .
    19   . Circuit law teaches that dismissal is proper even where the party who moves to
    20   compel arbitration only requests a stay pending arbitration”); Luna v. Kemira
    21   Specialty, Inc., 575 F.Supp.2d 1166, 1178 (C.D. Cal. 2008) (the court has
    22   discretion to dismiss under Rule 12(b)(6) if it finds that all of the claims before it
    23   are arbitrable).
    24           To the extent Plaintiff should change this Court‟s authority to dismiss this
    25   action, both Fed.R.Civ.P. 12(b)(1) and 12(b)(6) support dismissal of Plaintiff‟s
    26   claims. Fed.R.Civ.P. 12(b)(1) provides, “Every defense, in law or fact, to a claim
    27   for relief in any pleading, whether a claim, counterclaim, cross-claim, or third-
    28   party claim, shall be asserted in the responsive pleading thereto if one is required,

                                                   17
         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 25 of 27 Page ID #:667



     1   except that the following defenses may at the option of the pleader be made by
     2   motion: (1) lack of jurisdiction over the subject matter. . . .” As the courts have
     3   explained, Rule 12(b)(1) is a “flexible rule that „often serves as a vehicle for
     4   raising various residual defenses,‟” allowing parties to an arbitration agreement to
     5   enforce their agreements through the use of a motion to dismiss for lack of subject
     6   matter jurisdiction. Filimex, L.L.C., v. Novoa Investments, L.L.C., 2006 U.S. Dist.
     7   LEXIS 56039, at *6 (D. Az. July 17, 2006) (internal citation omitted).
     8           In Swanson Restoration & Design, Inc. v. Paul Davis Restoration, Inc., 2007
     9   U.S. Dist. LEXIS 96520 (C.D. Cal. 2007), after finding that the plaintiff‟s claims
    10   were subject to an arbitration agreement, the Court dismissed the Plaintiff‟s claims
    11   pursuant to Fed.R.Civ.P. 12(b)(1). The Court explained, “When a court determines
    12   that the entirety of a dispute is subject to arbitration, the court lacks subject matter
    13   jurisdiction and dismissal of the complaint is proper [citations omitted]. The Court
    14   thus compels arbitration of the claims and dismisses Plaintiff‟s complaint without
    15   leave to amend.” Id., at *15-16. See also Akar v. Prescott Hotel, 2008 U.S. Dist.
    16   LEXIS 43066 (N.D. Cal. 2008) (court finds arbitration applicable and grants
    17   motion to dismiss pursuant to Fed.R.Civ.P. 12(b)(1)); Choice Hotels Int‟l., Inc. v.
    18   BSR Tropicana Resort, Inc., 252 F.3d. 707, 709-10 (4th Cir. 2001); Thompson v.
    19   Nienaber, 239 F.Supp.2d 478, 482-84 (D. N.J. 2002) (holding that a party may
    20   bring a motion to dismiss under Rule 12(b)(1) to enforce an arbitration agreement).
    21           This Court may also dismiss Plaintiff‟s claims under Fed.R.Civ.P. 12(b)(6).
    22   When all claims made in the litigation are subject to arbitration, courts may also
    23   choose to dismiss the action in its entirety for the failure to state a claim under
    24   Rule 12(b)(6). Chappel v. Laboratory Corp. of America, 232 F.3d 719, 725 (9th
    25   Cir. 2000) (where “judicial review . . . is barred by the [contract's] valid and
    26   enforceable arbitration clause[,] [t]he district court properly dismissed his
    27   complaint under Federal Rules of Civil Procedure 12(b)(6) for failure to state a
    28   claim”); Sparling v. Hoffman Constr. Co., 864 F.2d at 638 (holding that sua sponte

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         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 26 of 27 Page ID #:668



     1   dismissal for failure to state relief was proper even though defendant only sought a
     2   stay pending arbitration); Luna v. Kemira Specialty, Inc., 575 F.Supp.2d at 1178-
     3   1179 (citing additional authorities).
     4           C.        The Court Should Also Dismiss Plaintiff’s PAGA Claims.
     5           In his FAC, Plaintiff has included a cause of action under the Private
     6   Attorneys General Act (“PAGA”). Those claims must also be dismissed.
     7           Plaintiff‟s PAGA claims are based on the same alleged events and alleged
     8   Labor Code violations as the other claims that Plaintiff was required to grieve and
     9   arbitrate.        Defendants anticipate that Plaintiff will contend that the recent
    10   California Supreme Court decision in Iskanian v. CLS Transportation Los Angeles,
    11   59 Cal.4th 348 (Cal. 2014) permits Plaintiff to proceed with his PAGA claims even
    12   if he did not grieve and arbitrate his claims pursuant to the CBA.          Iskanian,
    13   however, conflicts with federal decisions holding that PAGA claims are arbitrable
    14   upon an individualized basis.           See, e.g., Quevedo, 798 F.Supp.2d 1122
    15   (determining that PAGA claims are arbitrable, that a plaintiff can be required to
    16   arbitrate PAGA claims on an individualized basis, and that the FAA preempts any
    17   state effort to insulate a particular type of claim from arbitration); Luchini v.
    18   CarMax, Inc., 2012 U.S. Dist. LEXIS 157253, *8 (E.D. Cal. 2012) (same). As the
    19   California Supreme Court‟s decision in Iskanian is based upon an analysis of
    20   federal law, this Court is not bound by it. See, e.g., UPS Ground Freight, Inc. v.
    21   Farran, 2014 U.S. Dist. LEXIS 1473, *10 (S.D. Ohio 2014) (explaining that federal
    22   court is not bound by state court decisions on issues of federal law); Commodities
    23   Export Co. v. Detroit Int‟l Bridge Co., 695 F.3d 518, 528 (6th Cir. 2012)
    24   (explaining that a state court‟s opinion on an issue of federal law “is entitled to no
    25   deference whatsoever”); Vandevere v. Lloyd, 644 F.3d 957, 964 (9th Cir. 2011)
    26   (“As to a question of federal law . . . we owe no deference to state courts”).
    27   Accordingly, Plaintiff‟s PAGA claims must also be dismissed based on his failure
    28   to grieve and arbitrate.

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         FIRM:26059904v2
Case 2:14-cv-05514-BRO-AJW Document 13 Filed 08/08/14 Page 27 of 27 Page ID #:669



     1           D.        Plaintiff’s Anticipated Request To Conduct Discovery Must Be
                           Denied.
     2
     3           Defendants anticipate that Plaintiff will request that he be permitted to
     4   conduct discovery in order to respond to the instant motion. Not only is there no
     5   basis for such a request, but Plaintiff made the same request in state court when
     6   Defendants filed a similar motion there under state court rules. (RJN, Ex. D.)
     7   (That motion was not ruled on as Defendants removed this action prior to the
     8   hearing.) During the case management conference on May 2, 2014, the Superior
     9   Court in fact ruled that the parties could conduct limited discovery regarding the
    10   arbitration agreement in connection with Defendant‟s motion. (RJN Ex. C.) Thus,
    11   Plaintiff had more than two full months to conduct discovery before Defendants
    12   removed this case on July 15, 2014. Any request that he be permitted to conduct
    13   more discovery now must be rejected.
    14   IV.     CONCLUSION
    15           For the foregoing reasons, Defendants respectfully request that the Court
    16   dismiss this action.
    17   DATED: August 8, 2014            By:   EPSTEIN BECKER & GREEN, P.C.
    18
                                                /S/ Michael S. Kun
    19                                          Michael S. Kun
                                                Aaron Olsen
    20                                          Attorneys for Defendants
                                                BRINDERSON CONSTRUCTORS, INC.
    21                                          and BRINDERSON, L.P.
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